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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiffs,             )                    8:06CR116
                                               )
                v.                             )
                                               )
RICHARD D. MCGINNIS,                           )             SCHEDUlLING ORDER
                                               )
                       Defendants.             )
                                               )



       IT IS ORDERED that the following is set for hearing on September 18, 2006 at 2:30
p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska
U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Arraignment on Third Superseding Indictment

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 8th day of September, 2006.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
